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                     IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                 PITTSBURGH

MICHAEL DATA, DARLENE DATA,          )
EXECUTRIX OF THE ESTATE OF           )
MICHAEL DATA, DECEASED, AND          )               2:19-CV-00879-MJH
                                     )
DARLENE DATA IN HER OWN RIGHT;       )
                                     )
           Plaintiffs,               )
                                     )
     vs.                             )

A.O. SMITH CORPORATION, A.R.
WILFLEY & SONS, INC, ABB, INC., AS
SUCCESSOR TO BROWN BOVERI
(INDIVIDUALLY AND AS SUCCESSOR-
IN-INTEREST TO ITE IMPERIAL CO
F/K/A ITE CIRCUIT BREAKER
COMPANY); ACCO MATERIAL
HANDLING SOLUTION, INC., AECOM
ENERGY & CONSTRUCTION, INC.,
AHLSTROM PUMPS LLC, AIR & LIQUID
SYSTEMS CORPORATION,
SUCCESSOR-BY-MERGER TO BUFFALO
PUMPS, INC.; AJAX MAGNETHERMIC
CORPORATION, ALFA LAVAL, INC.,
ALLIED GLOVE CORPORATION,
ARMSTRONG INTERNATIONAL, INC.,
ARMSTRONG PUMPS, INC., ATLAS
INDUSTRIES, INC., ATWOOD &
MORRILL CO., INC., BAKER HUGHES,
A GE COMPANY, LLC; BEAZER EAST,
INC., IN ITS OWN RIGHT AND AS
SUCCESSOR TO KOPPERS CO., INC.,
AND OTHER RELATED COMPANIES,
INCLUDING THIEM CORPORATION,
BEAZER USA, INC., AND BEAZER, PLC;
BMI REFRACTORY SERVICES, INC.,
BORGWARNER MORSE TEC LLC,
BRAND INSULATIONS, INC., BRYAN
STEAM, LLC, BURNHAM LLC, BW/IP,
INC., CAMERON INTERNATIONAL
CORPORATION, CAMPBELL
HAUSFELD, LLC, CARRIER
CORPORATION, CARVER PUMP
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COMPANY, CASHCO, INC.,
CATERPILLAR, INC., CATERPILLAR
GLOBAL MINING AMERICA, LLC, CBS
CORPORATION, AS SUCCESSOR BY
MERGER TO CBS CORP.;
CERTAINTEED CORPORATION, CLARK
EQUIPMENT COMPANY, CLARK
RELIANCE CORPORATION, AND ITS
DIVISION JERGUSON GAGE AND
VALVE; CLEAVER-BROOKS, CLYDE
UNION, INC., INDIVIDUALLY AND AS
SUCCESSOR-BY-MERGER TO UNION
PUMP COMPANY; COLUMBUS
MCKINNON CORP., SUCCESSOR-BY-
MERGER TO LIFT TECH
INTERNATIONAL, INC., AND ITS
SHAW-BOX HOIST DIVISION;
CORNING INCORPORATED, ON
BEHALF OF ITS FORMER CORHART
REFRACTORIES BUSINESS DIVISION;
CRANE COMPANY, INC., CROSBY
VALVE, LLC, CUMMINS, INC., DANA
COMPANIES, LLC, DANIELI
CORPORATION, DAP, INC, DEZURIK,
INC., DICK CORPORATION, DRAVO
CORPORATION, EATON
CORPORATION, AS SUCCESSOR-IN-
INTEREST TO CUTLER-HAMMER, INC.;
EICHLEAY CORPORATION,
ELECTROLUX HOME PRODUCTS INC.,
ELLIOTT COMPANY, EMERSON
CLIMATE TECHNOLOGIES, INC., IN ITS
OWN RIGHT AND AS SUCCESSOR-IN-
INTEREST TO ALCO VALVE
COMPANY; FLOWSERVE
CORPORATION, FLOWSERVE
CORPORATION, FLOWSERVE US INC.,
SOLELY AS SUCCESSOR TO
NORDSTROM AUDCO, EDWARD
VALVES INC., NORDSTROM VALVES,
INC., AND ROCKWELL
MANUFACTURING COMPANY;
FLOWSERVE US INC., SUCCESSOR TO
VALTEK INTERNATIONAL; FLSMIDTH
DORR-OLIVER, INC., AS SUCCESSOR-
IN-INTEREST TO KEELER/DORR-
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OLIVER BOILER COMPANY;
FLSMIDTH, INC., FMC CORPORATION,
FORD MOTOR COMPANY, FOSTER
WHEELER LLC, GARDNER DENVER,
INC., GENERAL ELECTRIC COMPANY,
GENUINE PARTS COMPANY, GOULD
ELECTRONICS, INC., GREENE TWEED
& COMPANY, GOULDS PUMPS, LLC,
GRINNELL, LLC, GUARD LINE, INC.,
HONEYWELL, INC., HONEYWELL
INTERNATIONAL, INC., AS
SUCCESSOR-IN-INTEREST TO THE
BENDIX CORPORATION; HONEYWELL
INTERNATIONAL, INC., IN ITS OWN
RIGHT AND AS SUCCESSOR-IN-
INTEREST TO ALLIED CORPORATION
(WILPUTTE COKE OVEN DIVISION),
AND AS SUCCESSOR-IN-INTEREST TO
ALLIED CHEMICAL (WILPUTTE COKE
OVEN DIVISION), AND AS SUCCESSOR-
IN-INTEREST TO WILPUTTE COKE
OVEN CORPORATION; HOWDEN
NORTH AMERICA, INC., HUNTER
SALES CORPORATION, HYSTER-YALE
GROUP, INC., I.U. NORTH AMERICA,
INC., AS SUCCESSOR BY MERGER TO
THE GARP COMPANY, FORMERLY
KNOWN AS THE GAGE COMPANY,
FORMERLY KNOWN AS THE GAGE
COMPANY, FORMERLY KNOWN AS
PITTSBURGH GAGE AND SUPPLY
COMPANY; IMO INDUSTRIES, INC.,
INDUCTOTHERM INDUSTRIES, INC.,
INDUSTRIAL RUBBER PRODUCTS,
INGERSOLL-RAND CORPORATION, ITT
INDUSTRIES, INC., JOHNSON
CONTROLS, INC., JOY GLOBAL
SURFACE MINING, INC., JOY GLOBAL
UNDERGROUND MINING, LLC,
KELSEY-HAYES COMPANY, LEEDS &
NORTHRUP COMPANY, LINDBERG,
LINDBERG MPH, M.S. JACOBS &
ASSOCIATES, INC., MACK TRUCKS,
INC., MAGNETEK, INC., M.V.S.
COMPANY, MALLINCKRODT US
HOLDINGS, LLC, MCCARLS, INC.,
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MCMASTER CARR SUPPLY, MCNALLY
INDUSTRIES, LLC, IN ITS OWN RIGHT
AND ITS NORTHERN PUMPS DIVISION,
IN ITS OWN RIGHT; MCNEIL (OHIO)
CORPORATION, MESTEK, INC., MET-
PRO CORPORATION, AND ITS DEAN
PUMP BRAND; MILWAUKEE VALVE
COMPANY, MINE SAFETY APPLIANCE
COMPANY, MINNOTTE CONTRACTING
CORPORATION, MORGAN
ENGINEERING SYSTEMS, INC.,
MOYNO, INC., MUELLER CO., LLC,
MUELLER STEAM SPECIALTY, MW
CUSTOM PAPERS, LLC, NAGLE
PUMPS, INC., NAVISTAR, INC.,
NORTEK GLOBAL HVAC, LLC, AS
SUCCESSOR BY MERGER TO REZNOR,
LLC; NORTH AMERICAN
MANUFACTURING CO., OSRAM
SYLVANIA, INC., IN ITS OWN RIGHT
AND AS SUCCESSOR-IN-INTEREST TO
GTE PRODUCTS CORPORATION, THE
CLARK CONTROLLER COMPANY AND
A.O. SMITH CORPORATION; PECORA
CORPORATION, PENNSYLVANIA
POWER COMPANY, PENTAIR VALVES
& CONTROLS, LLC, PNEUMO ABEX,
LLC, AS SUCCESSOR-IN-INTEREST TO
ABEX CORPORATION; POWER PIPING
COMPANY, RCH NEW CO., II LLC, AN
ALLEGED SUCCESSOR TO H.H.
ROBERTSON COMPANY; READING
CRANE AND ENGINEERING COMPANY,
RESEARCH-COTTRELL, INC., REUNION
INDUSTRIES, INC., RILEY POWER,
INC., ROBBINS & MYERS, INC.,
ROBINSON FANS, INC., ROCKWELL
AUTOMATION, INC., SUCCESSOR BY
MERGER TO ALLEN BRADLEY CO;
RUST ENGINEERING &
CONSTRUCTION, INC., SAINT-GOBAIN
ABRASIVES, INC., SAUER, INC.,
SCHNEIDER ELECTRIC USA, INC.,
SIEMENS INDUSTRY, INC., IN ITS OWN
RIGHT, AND AS SUCCESSOR-IN-
INTEREST TO I-T-E CIRCUIT BREAKER
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COMPANY; SIMAKAS COMPANY, INC.,
SPIRAX SARCO, INC., SPX COOLING
TECHNOLOGIES, INC., STERLING
FLUID SYSTEMS (USA), LLC,
SUNBEAM PRODUCTS, INC., AS
SUCCESS-IN-INTEREST TO SUNBEAM
CORPORATION; SUNDYNE, LLC,
SURFACE COMBUSTION, SWINDELL-
DRESSLER INTERNATIONAL
COMPANY, THE GOODYEAR TIRE &
RUBBER COMPANY, THE GORMAN-
RUPP COMPANY, THE NASH
ENGINEERING COMPANY, THE
WILLIAM POWELL COMPANY, TRANE
U.S. INC., IN ITS OWN RIGHT AND AS
SUCCESSOR TO WESTINGHOUSE
AIRBRAKE AND/OR WABCO;
TRUMBELL INDUSTRIES, INC.,
TUTHILL CORPORATION, UB WEST
VIRGINIA, INC., UNION CARBIDE
CORPORATION, UNITED CONVEYOR
CORPORATION, VELAN VALVE
CORPORATION, VIKING PUMP, INC.,
W.W. GRAINGER, INC., WARREN
PUMPS, LLC, WASHINGTON GROUP
INTERNATIONAL, AND ALL ITS
DOMESTIC SUBSIDIARIES INCLUDING
THE BADGER COMPANY, INC.;
WATSON MCDANIEL COMPANY,
WATTS REGULATOR CO., WEIL-
MCLAIN COMPANY, WHEELABRATOR
AIR POLLUTION CONTROL, INC.,
WT/HRC CORPORATION, WTI RUST
HOLDINGS, INC., YORK
INTERNATIONAL CORPORATION,
YUBA HEAT TRANSFER LLC, ZURN
INDUSTRIES, INDUSTRIAL HOLDINGS
CORPORATION, SURFACE
COMBUSTION, LINDBERG, DICK
CORPORATION, NORTEK GLOBAL
HVAC, LLC, FLSMIDTH, INC.,
MARLEY-WYLAIN COMPANY,
INCORRECTLY DESIGNATED AS WEIL-
MCLAIN COMPANY; SIMAKAS
COMPANY, INC., TRUMBULL
INDUSTRIES, INC., UB WEST
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VIRGINIA, INC., F/K/A/ UNION BOILER
COMPANY; MW CUSTOM PAPERS,
LLC, WT/HRC CORPORATION,
WHEELABRATOR AIR POLLUTION
CONTROL, INC., MVS COMPANY,
SULZER PUMPS (US), INC., MESTEK,
INC., MESTEK, INC., SULZER PUMPS
(US), INC., GOULD ELECTRONICS,
INC., MESTEK, INC., SULZER PUMPS
SOLUTIONS, INC.,

              Defendants,

                                           ORDER

       Pursuant to this Court’s Memorandum Opinion (ECF No. 1189), it is hereby ordered as

follows:

       Judge Eddy’s Report and Recommendation (ECF No. 1187) is adopted as the Opinion of

the Court.

       Defendants’ Motions for Summary Judgment is disposed as follows:

 Motion for Summary Judgment        Motion                      Disposition
 filed by:                          ECF
                                    No.:
 M.S. JACOBS & ASSOCIATES,          983 and                       Granted
 INC.                               1010
 FLOWSERVE US INC., SOLELY          985                           Granted
 AS SUCCESSOR
 TO NORDSTROM AUDCO INC.,
 EDWARD VALVES, INC.,
 NORDSTROM VALVES, INC.
 AND ROCKWELL
 MANUFACTURING
 ARMSTRONG                          1015                          Granted
 INTERNATIONAL, INC.
 THE NASH ENGINEERING               1024         Denied without prejudice due to bankruptcy
 COMPANY                                                            stay
 HONEYWELL, INC.                    1025                          Denied
 THE WILLIAM POWELL                 1027                          Granted
 COMPANY
 CLYDE UNION, INC.                  1030                          Granted
 AIR & LIQUID SYSTEMS               1044                          Denied
 CORPORATION
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 DCo LLC (f/k/a Dana Companies       1046               Granted in part and denied in part
 LLC)
 I.U. NORTH AMERICA, INC             1049                           Granted
 ATWOOD & MORRILL CO., INC.          1051                           Granted
 VIKING PUMP, INC.                   1052                           Granted
 GENERAL ELECTRIC                    1063               Granted in part and denied in part
 COMPANY
 DEZURIK, INC.                       1067                           Granted
 ALFA LAVAL, INC.                    1073                           Granted
 FMC CORPORATION                     1074               Granted in part and denied in part
 GARDNER DENVER, INC.                1076                           Granted
 HYSTER-YALE GROUP, INC.             1079                           Granted
 BW/IP, INC.                         1084                           Granted
 CLARK EQUIPMENT                     1085                           Granted
 COMPANY

       Judgment is entered in favor of the following Defendants: M.S. JACOBS &

ASSOCIATES, INC.; FLOWSERVE US INC., SOLELY AS SUCCESSOR TO NORDSTROM

AUDCO INC., EDWARD VALVES, INC., NORDSTROM VALVES, INC. AND ROCKWELL

MANUFACTURING; ARMSTRONG INTERNATIONAL, INC.; THE WILLIAM POWELL

COMPANY ; CLYDE UNION, INC.; I.U. NORTH AMERICA, INC; ATWOOD & MORRILL

CO., INC.; VIKING PUMP, INC.; DEZURIK, INC. ALFA LAVAL, INC.; GARDNER

DENVER, INC.; HYSTER-YALE GROUP, INC.; BW/IP, INC.; and CLARK EQUIPMENT

COMPANY.

       This case is referred to Chief Magistrate Judge Eddy with regard to the remaining

defendants and remaining claims.
                          2nd day of December, 2021.
              DATED this ______

                                            BY THE COURT:



                                            MARILYN J. HORAN
                                            United States District Judge
